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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                        Plaintiff,                   )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No. 4:24-CV-02473
LV CYPRESS REALTY LLC,                               )
                                                     )
                        Defendant.                   )


                                         COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, LV CYPRESS REALTY LLC, pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

LV CYPRESS REALTY LLC, failure to remove physical barriers to access and violations of

Title III of the ADA.

                                            PARTIES

       2.      Plaintiff ERIK GARCIA (hereinafter “Plaintiff”) is and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in


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performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

        5.      Plaintiff uses a wheelchair for mobility purposes.

        6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. His

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

        7.      Defendant, LV CYPRESS REALTY LLC (hereinafter “LV CYPRESS REALTY

LLC”) is a domestic limited liability corporation that transacts business in the State of Texas and

within this judicial district.

        8.      Defendant, LV CYPRESS REALTY LLC, may be properly served with process

via its registered agent for service, to wit: c/o Andrea La, Registered Agent, 10080 Bellaire

Blvd., Suite 220, Houston, TX 77072.

                                  FACTUAL ALLEGATIONS

        9.      On or about May 11, 2024, Plaintiff was a customer at “Courtesy Citgo Food,” a

business located at 5714 Chimney Rock, Houston, TX 77081, referenced herein as “Courtesy

Citgo Food”. See Receipt attached as Exhibit 1.



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       10.     Defendant, LV CYPRESS REALTY LLC, is the owner or co-owner of the real

property and improvements that Courtesy Citgo Food is situated upon and that is the subject of

this action, referenced herein as the “Property.”

       11.     Defendant, LV CYPRESS REALTY LLC, is responsible for complying with the

ADA for both the exterior portions and interior portions of the Property. Even if there is a lease

between Defendant, LV CYPRESS REALTY LLC, and a tenant allocating responsibilities for

ADA compliance within the unit the tenant operates, that lease is only between the property

owner and the tenant and does not abrogate the Defendant’s requirement to comply with the

ADA for the entire Property it owns, including the interior portions of the Property which are

public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to Courtesy Citgo Food and other businesses at the Property,

located at 5714 Chimney Rock, Houston, TX 77081, Harris County Property Appraiser’s

property identification number 0370590240048 (“the Property”), and/or full and equal

enjoyment of the goods, services, foods, drinks, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his disabilities, and he

will be denied and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Property, including

those set forth in this Complaint.

       13.     Plaintiff lives 4 miles from the Property.

       14.     Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

travels by the Property.

       15.     Plaintiff has visited the Property once before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property after the barriers to access detailed in this



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Complaint are removed and the Property is accessible again. The purpose of the revisit is to be a

return customer, to be a customer of Hunan King Chinese Restaurant, to determine if and when

the Property is made accessible and to substantiate already existing standing for this lawsuit for

Advocacy Purposes.

       16.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer as well as for Advocacy Purposes but does not intend to re-expose himself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       17.     Plaintiff travelled to the Property as a customer at least once before as a customer,

personally encountered many barriers to access the Property that are detailed in this Complaint,

engaged many barriers, suffered legal harm and legal injury, and will continue to suffer such

harm and injury if all the illegal barriers to access present at the Property identified in this

Complaint are not removed.

       18.     Although Plaintiff may not have personally encountered each and every barrier to

access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.



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       19.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).


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       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.     The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     The Property is a public accommodation and service establishment.

       26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in



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his capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit his access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       31.     Defendant, LV CYPRESS REALTY LLC, has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       32.     Defendant, LV CYPRESS REALTY LLC, will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, LV CYPRESS REALTY LLC,

is compelled to remove all physical barriers that exist at the Property, including those

specifically set forth herein, and make the Property accessible to and usable by Plaintiff and



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other persons with disabilities.

       33.       A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

               i.   Nearest La Michoacana Meat Market, the Property has an accessible ramp that

                    lacks finished edges or edge protection and/or is otherwise in violation of

                    Section 405.9 of the 2010 ADAAG standards. This barrier to access would

                    expose Plaintiff to increased risk of injury for if the wheelchair should fall of

                    the side edge of the ramp, the lack of edge protection would likely cause

                    Plaintiff to tip and incur injury.

             ii.    In front of Unit 5734, due to a policy of not having parking stops for the

                    parking spaces directly in front of the exterior access route, cars routinely pull

                    up all the way to the curb and the "nose" of the vehicle extends into the access

                    route causing the exterior access route to routinely have clear widths below

                    the minimum thirty-six (36") inch requirement specified by Section 403.5.1 of

                    the 2010 ADAAG Standards. This barrier to access would make it dangerous

                    and difficult for Plaintiff to access exterior public features of the Property as

                    there is not enough clear width for Plaintiff’s wheelchair.

             iii.   In front of Unit 5734, due to a policy of not having parking stops for the

                    parking spaces directly in front of the exterior access route, cars routinely pull

                    up all the way to the curb and the "nose" of the vehicle extends into the access



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           route as a result, in violation of Section 502.7 of the 2010 ADAAG Standards,

           parking spaces are not properly designed so that parked cars and vans cannot

           obstruct the required clear width of adjacent accessible routes. This barrier to

           access would make it dangerous and difficult for Plaintiff to access exterior

           public features of the Property as there is not enough clear width for

           Plaintiff’s wheelchair.

     iv.   Due to the barriers to access identified in (ii) and (iii) above, the Property

           lacks a single accessible route connecting accessible facilities, accessible

           elements and/or accessible spaces of the Property in violation of Section

           206.2.2 of the 2010 ADAAG standards. This barrier to access would make it

           difficult for Plaintiff to access public features of the Property.

     v.    At Unit 5734, due to a failure to maintain the accessible route, there is a

           doorway threshold with a vertical rise of approximately an inch and does not

           contain a bevel with a maximum slope of 1:2 in violation of Section 404.2.5

           of the 2010 ADAAG standards. This barrier to access would make it

           dangerous and difficult for Plaintiff to access the interior of the Property at

           this location as the vertical rise at the door threshold could potentially cause

           Plaintiff to tip over when attempting to enter. Moreover, this barrier to access

           is made more difficult by the fact that it is in the doorway and Plaintiff would

           be required to hold the door open with one hand while attempting to the

           “push” the wheel of the wheelchair over the vertical rise.

     vi.   Nearest Unit 5714, the access aisle to the accessible parking space is not level

           due to the presence of an accessible ramp in the access aisle in violation of



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            Section 502.4 of the 2010 ADAAG standards. This barrier to access would

            make it dangerous and difficult for Plaintiff to exit and enter their vehicle

            while parked at the Property as the lift from the van may rest upon the ramp

            and create an unlevel surface.

     vii.   Nearest Unit 5714, the accessible curb ramp is improperly protruding into the

            access aisle of the accessible parking space in violation of Section 406.5 of the

            2010 ADAAG Standards. This barrier to access would make it dangerous and

            difficult for Plaintiff to exit and enter their vehicle while parked at the

            Property as the lift from the van may rest upon the ramp and create an unlevel

            surface.

    viii.   Nearest Unit 5714, the ground surfaces of the access aisle servicing the

            accessible space, near where the access aisle meets the accessible ramp, have

            vertical rises in excess of ¼ (one quarter) inch in height, are not stable or slip

            resistant, have broken or unstable surfaces or otherwise fail to comply with

            Sections 502.4, 302 and 303 of the 2010 ADAAG standards. This barrier to

            access would make it dangerous and difficult for Plaintiff to access the units

            of the Property.

     ix.    Nearest Unit 5714, the Property has an accessible ramp that lacks finished

            edges or edge protection and/or is otherwise in violation of Section 405.9 of

            the 2010 ADAAG standards. This barrier to access would expose Plaintiff to

            increased risk of injury for if the wheelchair should fall of the side edge of the

            ramp, the lack of edge protection would likely cause Plaintiff to tip and incur

            injury.



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      x.    On the accessible route between Units 5714 and 5716, there is an opening in

            the ground surfaces with a width exceeding ½ inch which would potentially

            cause the wheel of Plaintiff’s wheelchair to get stuck in the gap and increasing

            the potential for Plaintiff’s wheelchair to tip over in violation of Section 302.3

            of the 2010 ADAAG Standards.

     xi.    On the accessible route between Units 5714 and 5716, due to the presence of a

            pothole in the accessible route, the ground surfaces of the accessible route

            have vertical rises in excess of ¼ (one quarter) inch in height, are not stable or

            slip resistant, have broken or unstable surfaces or otherwise fail to comply

            with Sections 302 and 303 of the 2010 ADAAG standards. This barrier to

            access would make it dangerous and difficult for Plaintiff to access the units

            of the Property.

     xii.   In front of Unit 5702, the access aisle to the accessible parking space is not

            level due to the presence of an accessible ramp in the access aisle in violation

            of Section 502.4 of the 2010 ADAAG standards. This barrier to access would

            make it dangerous and difficult for Plaintiff to exit and enter their vehicle

            while parked at the Property as the lift from the van may rest upon the ramp

            and create an unlevel surface.

    xiii.   In front of Unit 5702, the accessible curb ramp is improperly protruding into

            the access aisle of the accessible parking space in violation of Section 406.5 of

            the 2010 ADAAG Standards. This barrier to access would make it dangerous

            and difficult for Plaintiff to exit and enter their vehicle while parked at the




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           Property as the lift from the van may rest upon the ramp and create an unlevel

           surface.

    xiv.   The total number of accessible parking spaces is inadequate and is in violation

           of Section 208.2 of the 2010 ADAAG standards. There are 122 parking

           spaces available at the Property, which requires a minimum of five (5)

           accessible parking spaces, but there are only three accessible parking spaces at

           the Property. This barrier to access would make it difficult for Plaintiff to

           locate an available accessible parking space as such a small number of

           accessible parking spaces in a large parking lot increases the likelihood of

           there not being an available accessible parking space.

     xv.   There are no accessible parking spaces on the Property that have a sign

           designating an accessible parking space as “Van Accessible” in violation of

           Section 208.2.4 of the 2010 ADAAG standards and Section 502.6 of the 2010

           ADAAG standards. This barrier to access would make it difficult for Plaintiff

           to locate a van accessible parking space.

    xvi.   Inside Courtesy Food Mart, the interior has walking surfaces lacking a 36

           (thirty-six) inch clear width, due to a policy of maximizing the number of

           items of sale in the store by placing items in the accessible route, in violation

           of Section 403.5.1 of the 2010 ADAAG standards. This barrier to access

           would make it difficult for Plaintiff to properly utilize public features at the

           Property because the width of Plaintiff’s wheelchair would prevent passage

           through areas with a width less than 36 inches.




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      xvii.   Inside Courtesy Food Mart, the vertical reach to the self-serve frozen drink

              dispensers exceeds the maximum allowable height of 48 (forty-eight) inches

              above the finish floor or ground in violation of Section 308.3.1 of the

              ADAAG standards. This barrier to access would make it difficult for Plaintiff

              to reach the actionable mechanism of the drink dispenser due to the fact

              individuals in wheelchairs are seated and have lower reach ranges than

              individuals who stand.

     xviii.   Defendant fails to adhere to a policy, practice and procedure to ensure that all

              facilities are readily accessible to and usable by disabled individuals.

COURTESY FOOD MART RESTROOMS

      xix.    The restroom lacks signage in compliance with Sections 216.8 and 703 of the

              2010 ADAAG standards. This barrier to access would make it difficult for

              Plaintiff and/or any disabled individual to locate accessible restroom facilities.

       xx.    The restroom door lacks a clear minimum maneuvering clearance, due to the

              proximity of the door hardware within 18 inches to the adjacent wall

              outcropping, in violation of Section 404.2.4 of the 2010 ADAAG standards.

              This barrier to access would make it difficult for Plaintiff and/or any disabled

              individual to safely utilize the restroom due to the fact individuals in

              wheelchairs have their feet sticking out in front of them and when there is

              inadequate clearance near the door (less than 18 inches), their protruding feet

              block their ability to reach the door hardware to open the door.


      xxi.    The door hardware providing access to the restrooms requires tight grasping

              and twisting of the wrist in violation of Section 404.2.7 of the 2010 ADAAG


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            standards. This barrier to access would make it difficult for Plaintiff and/or

            any disabled individual to utilize the restroom facilities.

    xxii.   The grab bars/handrails adjacent to the commode are missing and violate

            Section 604.5 of the 2010 ADAAG standards. This barrier to access would

            make it difficult for Plaintiff and/or any disabled individual to safely transfer

            from the wheelchair to the toilet and back to the wheelchair.

   xxiii.   The distance of the centerline of the toilet is more than 18” from the side wall.

            As a result, the toilet is not adequately positioned from the side wall or

            partition positioning in violation of 604.2 of the 2010 ADAAG standards.

            This barrier to access would make it difficult for Plaintiff and/or any disabled

            individual to safely utilize the restroom facilities.

   xxiv.    The toilet paper dispenser in the accessible toilet is not positioned seven to

            nine inches in front of the toilet and therefore is in violation of Section 604.7

            of the 2010 ADAAG standards. This barrier to access would make it difficult

            for Plaintiff to utilize the toilet due to the fact the toilet paper dispenser is at

            an improper distance from the toilet, given Plaintiff’s disability, Plaintiff

            would not be able to get up and reach the toilet paper.

    xxv.    The actionable mechanism of the paper towel dispenser in the restroom is

            located outside the maximum prescribed vertical reach range of 48 inches

            above the finished floor as set forth in Section 308.2.1 of the 2010 ADAAG

            standards. This barrier to access would make it difficult for Plaintiff and/or

            any disabled individual to reach the actionable mechanism of the paper towel

            dispenser as individuals in wheelchairs are seated and have significantly less



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                     reach range than individuals who stand up.

          xxvi.      Restrooms have a sink with inadequate knee and toe clearance in violation of

                     Section 306 of the 2010 ADAAG standards. This barrier to access would

                     make it difficult for Plaintiff and/or any disabled individual to utilize the

                     restroom sink as Plaintiff is seated in a wheelchair and, when seated,

                     Plaintiff’s feet and legs protrude out in front. In order to properly utilize a

                     sink, Plaintiff’s legs must be able to be underneath the surface of the sink, but

                     due to the improper configuration of the sink, there is no room underneath for

                     Plaintiff’s legs and feet.

         xxvii.      There is not an access route to the paper towel dispenser due to the lack of a

                     36-inch access route between the toilet and the sink. As a result, the restroom

                     has walking surfaces lacking a 36 (thirty-six) inch clear width in violation of

                     Section 403.5.1 of the 2010 ADAAG standards. This violation would make it

                     difficult for Plaintiff and/or any disabled individual to properly utilize the

                     restroom facilities at the Property.

       34.        The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       35.        Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       36.        The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.




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       37.       All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       38.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       39.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, LV

CYPRESS REALTY LLC, has the financial resources to make the necessary as the value of the

Property, according to the Harris County Property Appraiser, is $3,374,725.00.

       40.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable.

       41.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

       42.       Upon information and good faith belief, the Property has been altered since 2010.

       43.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       44.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

LV CYPRESS REALTY LLC, is required to remove the physical barriers, dangerous conditions

and ADA violations that exist at the Property, including those alleged herein.



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         45.   Plaintiff’s requested relief serves the public interest.

         46.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, LV CYPRESS REALTY LLC.

         47.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, LV CYPRESS REALTY LLC, pursuant to 42 U.S.C. §§ 12188 and

12205.

         48.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, LV

CYPRESS REALTY LLC, to modify the Property to the extent required by the ADA.

         WHEREFORE, Plaintiff prays as follows:

         (a)   That the Court find Defendant, LV CYPRESS REALTY LLC, in violation of the

               ADA and ADAAG;

         (b)   That the Court issue a permanent injunction enjoining Defendant, LV CYPRESS

               REALTY LLC, from continuing their discriminatory practices;

         (c)   That the Court issue an Order requiring Defendant, LV CYPRESS REALTY

               LLC, to (i) remove the physical barriers to access and (ii) alter the subject

               Property to make it readily accessible to and useable by individuals with

               disabilities to the extent required by the ADA;

         (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

               and costs; and




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 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: July 1, 2024.

                                     Respectfully submitted,

                                     Law Offices of
                                     THE SCHAPIRO LAW GROUP, P.L.

                                     /s/ Douglas S. Schapiro
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